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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                  )   Case No. 3:19-md-02885-MCR-GRJ
                                        )
 EARPLUG PRODUCTS                       )
 LIABILITY LITIGATION                   )
                                        )   Judge M. Casey Rodgers
                                        )
                                        )
 This Document Relates to All Cases     )   Magistrate Judge Gary R. Jones
                                        )
                                        )
                                        )

    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON THE
           GOVERNMENT CONTRACTOR DEFENSE

      Pursuant to Fed. R. Civ. P. 56 and Local Rule 56.1, Defendants 3M Company,

3M Occupational Safety LLC, Aearo Technologies LLC, Aearo Holding, LLC,

Aearo Intermediate, LLC and Aearo, LLC (“Defendants”) respectfully, by and

through their undersigned counsel, file this motion seeking summary judgment on

the government contractor defense. The grounds for this motion are set forth in the

accompanying memorandum.
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DATED: April 1, 2020             KIRKLAND & ELLIS LLP

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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
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IN RE: 3M COMBAT ARMS                )   Case No. 3:19-md-02885-MCR-GRJ
                                     )
EARPLUG PRODUCTS                     )
LIABILITY LITIGATION                 )
                                     )   Judge M. Casey Rodgers
                                     )
                                     )
This Document Relates to All Cases   )   Magistrate Judge Gary R. Jones
                                     )
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  MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR
  SUMMARY JUDGMENT ON THE GOVERNMENT CONTRACTOR
                     DEFENSE
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                                INTRODUCTION

      The Court should grant defendants’ motion for summary judgment on the

government contractor defense. Plaintiffs base their design defect claim on a design

element of the Combat Arms Earplugs version 2 (“CAEv2”)—the length of the

earplug—that was specifically required by the U.S. military. And the military

assumed full responsibility for instructing service members on the proper fitting and

use of the CAEv2, preempting any claim based on an alleged failure to warn.

      This case presents a classic example of the need for, and purpose behind, the

government contractor defense. The U.S. military had a longstanding problem:

service members were regularly exposed to very loud noises but often could not (or

would not) wear hearing protection because they needed to be able to hear their

surroundings. In the mid-1990s, the Army began researching a potential solution: a

“non-linear” earplug incorporating a filter designed by the French-German Research

Institute of Saint-Louis (“ISL”). The filter allowed lower-level sounds, such as voice

commands, to pass through with minimal sound attenuation, but provided increasing

attenuation for higher-level sounds, such as gunfire.       After testing, the Army

concluded that “non-linear earplugs provide acceptable hearing protection,

especially when one considers that the alternative presently being used is not to wear

hearing protection.” (Ex. 1 at P01082.10.)




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      In December 1997, Army representatives asked Aearo to produce an earplug

containing the ISL filter. (Ex. 2 at 2-3.) The military provided various specifications

for this product, including that it be (i) dual-ended—i.e., with both conventional and

non-linear ends—so that soldiers did not have to carry around two separate sets of

earplugs, and (ii) single-sized, because a one-size-fits-most product was easier for

the Army’s audiologists to dispense. (Id.) Most importantly, after Aearo provided

initial product samples in 1998, the military directed Aearo to shorten the length of

the earplug by approximately 1/4” so that it fit into the military’s standard earplug

carrying case and would not interfere with a soldier’s ability to fasten the helmet

chin strap. (E.g., Exs. 3-5.)

      The military had valid tactical reasons for wanting a shorter earplug, but that

decision created an issue. Aearo discovered during its internal testing that, for

certain users who needed to insert the plug deeply to obtain a best fit, the flanges on

the opposite end of the dual-ended earplug could come into contact with the user’s

tragus—the prominence in front of the external opening of the outer ear—and cause

the earplug to loosen in the user’s ear. The solution to this issue was straightforward:

affected users could fold back the flanges on the opposite end as needed to get a

good fit. The undisputed evidence shows that (1) Aearo clearly communicated this

issue to the military, and (2) the military in turn instructed its audiologists to fold

back the flanges as needed when fitting individual service members.


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       Plaintiffs claim that the CAEv2 is defectively short.       But the military

concluded otherwise because it dictated the earplug’s length and decided to use the

product after the flange fold issue was discovered. The Supreme Court has made

clear that where, as here, the government makes an informed decision to use a certain

design, courts cannot “second-guess” that decision by entertaining state tort suits.

Boyle v. United Techs. Corp., 487 U.S. 500, 511 (1988). Summary judgment is

therefore warranted.1

                           STATEMENT OF FACTS

       A.    Hearing Loss And Situation Awareness In The Military.
       Hearing loss and tinnitus are “by far the most prevalent service-connected

disability among American Veterans.” (Ex. 6 at 1.) Hearing protection devices

(“HPDs”) can help protect soldiers from those injuries, but many soldiers have been

reluctant to use them because their situation awareness—the ability to hear their

surroundings—would be lost. (E.g., Ex. 7 at 1; Ex. 1 at P01082.3, .9-10; Ex. 9 at

3M_MDL000039902; Ex. 42 at 3M_MDL000055849.) Indeed, the Army’s own




1
    Defendants expect to obtain additional evidence in support of the government
    contractor defense in the future, including over twenty government depositions
    that have been postponed due to the coronavirus pandemic. The Court declined
    defendants’ request to postpone summary judgment briefing until the conclusion
    of government discovery. Defendants reserve the right to supplement the
    arguments made in this brief as discovery continues.

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regulations provided that soldiers “[s]hould NOT wear hearing protectors when they

impair necessary hearing” in combat. (Ex. 8 at 6–2(d)(2).)

      B.     The Military Researched And Tested Non-Linear Earplugs.

      In the 1990s, military audiologists learned that researchers at ISL had

developed a technology that could help reconcile the dueling priorities of hearing

protection and situation awareness. (E.g., Ex. 1 at P01082.2-3.) In essence, ISL had

invented a cylindrical “filter” that, when inserted into a conventional earplug,

provided “non-linear” noise attenuation. (Id.; Ex. 9 at 3M_MDL000039902-04.) A

“non-linear” earplug allows the wearer to hear relatively quiet sounds, like speech,

but provides increasing attenuation for higher level sounds, like gunfire. (Id.)

      Between 1995 and 1997, Army researchers conducted various tests using non-

linear earplugs with the ISL filter. In 1995, Army researcher Dan Johnson tested

two non-linear earplugs—an earplug developed by the Army called the “Rucker

Plug,” and a version of the Aearo “[U]ltrafit” earplug into which the Army had

inserted the ISL filter. (Ex. 10 at 3M_MDL000014064.) Johnson concluded that

the Ultrafit “performed better” and “may be a satisfactory solution.”           (Id. at

3M_MDL000014157-58.)

      In December 1996, Army researcher Georges Garinther traveled to ISL in

France to participate in further testing of non-linear earplugs, including a version of

the Ultrafit. (Ex. 1 at P01082.2-7.) Garinther determined that “[t]he non-linear


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earplug protected hearing as effectively as the [traditional] earplug that is normally

worn by French soldiers.” (Id. at P01082.4) He provided the results of the testing,

and samples of the earplugs used, to Dr. Doug Ohlin, who was the individual

responsible for approving new hearing protection devices for the Army. (Id. at

P01082.6; Ex. 44 (3/3/20 Coleman Tr.) at 281:4-10 (Ohlin was decisionmaker); Ex.

66 (Fallon Decl.) ¶¶ 4-6 (same).)

      In November 1997, Garinther returned to ISL for additional testing. (Ex. 1 at

P01082.8.) He concluded that “non-linear earplugs provide acceptable hearing

protection, especially when one considers that the alternative presently being used

is not to wear hearing protection.” (Id. at P01082.10) He recommended to Ohlin

and others that the Army adopt a non-linear earplug. (Id. at P01082.11)

      C.     The Military Worked With Aearo To Develop The CAEv2.

      On December 16, 1997, the U.S. military hosted a meeting at Aberdeen

Proving Ground, a U.S. military facility, to discuss the development of a new non-

linear earplug for the Army. (Ex. 2 at 2-3; Ex. 56 (12/12/19 Berger Tr.) at 8:10-22;

54:22-58:25.) Attendees included Ohlin, Garinther, other Army representatives, ISL

representatives, and Elliott Berger, an acoustical scientist with Aearo. (Id.) During

the meeting, Ohlin requested that Aearo develop an earplug that: (1) incorporated

the ISL filter, (2) used Aearo’s “Ultrafit” tips, which the government had previously

tested with the ISL filter, (3) was dual-ended, with both nonlinear and conventional


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ends, so that service members did not need to carry two separate sets of earplugs,

and (4) was single-sized, because a one-size-fits-most product was easier for field

audiologists to dispense. (Ex. 2 at 2; Ex. 56 (12/12/19 Berger Tr.) at 60:2-61:19,

64:7-10, 81:22-82:24.)

       Aearo completed an initial design of the product on March 23, 1998. (Ex. 11 ;

Ex. 56 (12/12/19 Berger Tr.) at 61:20-64:6; Ex. 57 (12/17/19 Knauer Tr.) at 81:24-

82:11.) In that design, the overall length of the earplug was 40.34 millimeters, and

the tips on each end were 7.72 millimeters apart. (Ex. 11.) Aearo sent samples of

the product to Ohlin on March 24, 1998. (Ex. 12 atDOD00000257; Ex. 56 (12/12/19

Berger Tr.) at 65:3-66:11.) The military has not yet provided discovery regarding

the steps Ohlin took to evaluate those samples, but                     , a military

audiologist who worked with Ohlin in that time period, provided the following

insights into Ohlin's process:




2




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Similarly, retired LTC Eric Fallon (now at 3M), who took over as the Army Hearing

Conservation Program Manager after Ohlin’s retirement, testified that: “Ohlin

reviewed hearing protection devices, [and] asked manufacturers to make

modifications in design when necessary.” (Ex. 66 (Fallon Decl.) ¶ 6.)

      On April 8-9, 1999, Ohlin directed Brian Myers at Aearo to shorten the

earplug by approximately 1/4”. (Ex. 4 at 3M_MDL000569995; Ex. 56 (12/12/19

Berger Tr.) at 68:2-70:23) Ohlin sent the same feedback to military audiologists,

stating that he “took the liberty in cutting down the samples” himself. (Ex. 3 at

DOD00000136; Ex. 5 at 3M_MDL000569956; Ex. 56 (12/12/19 Berger Tr.) at

66:12-68:1.) According to Ohlin, the original length of the earplug created three

issues: (1) the samples did not fit into the Army’s standard issue carrying case; (2)

the flanges were far enough apart that they did not cover the sound port on the stem

of the plug, which, Ohlin believed, exposed the plug to wind noise; and (3) the

samples stuck out of the ear too far and interfered with the ability to fasten the strap

on the Kevlar helmet. (Ex. 3 at DOD00000136; Ex. 4 at 3M_MDL000569995; Ex.

5 at 3M_MDL000569956.) Ohlin described the last problem as a “show stopper if

we can’t get the modification.” (Ex. 5 at 3M_MDL000569956.)

      By April 27, 1999, Aearo had shortened the length of the earplug in response

to Ohlin’s directive. (Ex. 14; Ex. 17 at 0.) In the modified design, the overall length

of the earplug was 35.66 millimeters, and the Ultrafit tips on each end were 3.04


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millimeters apart. (Ex. 14.) Unlike the original design (left), the modified design

(right) fit into the military’s standard earplug carrying case.




(Ex. 18 at 20; Ex. 56 (12/12/19 Berger) Tr. at 76:19-79:1.)

      By May 12, 1999, Ohlin had determined that Aearo satisfied the government’s

specifications, and that the company had manufactured “acceptable production

samples.” (Ex. 3 at DOD00000137.) Ohlin used those production samples to submit

a “Request for National Stock Number and Bulk Purchase of Combat Arms

Earplugs.” (Ex. 9.) Among other things, the National Stock Number (“NSN”)

request overviews the military’s role in developing the product. (Id.)

      D.     The Military Drafted The First Instructions For The CAEv2.

      On May 18, 1999, Ohlin sent a letter to the Navy Environmental Health Center

regarding the submission of the NSN request. (Ex. 15.) The letter attaches the

earliest known instructions for the CAEv2, which were authored by the Army. (Id.)

The instructions describe when to use each end and how to “tug[ ]” on the earplug


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to check for proper insertion. (Id.) The letter also attaches promotional materials

authored by the Army which note, among other things, that the earplugs were

“[c]heap, low tech, easy to maintain, [and] require[d] no batteries.” (Id.)

      E.     The Military Tested The CAEv2 Under Worst-Case Impulse Noise
             Conditions.
      Contemporaneously with submitting the NSN request, Ohlin was

corresponding with John King, the Army’s scientific advisor for Southern Europe,

regarding ordering 1,000 pairs of CAEv2 from Aearo. (Ex. 3 at DOD00000138-40.)

King, in turn, worked with Garinther and others at the Army Research Laboratory

to perform further product testing. (Ex. 16 at 1.) That testing, which concluded by

June 30, 1999, determined that CAEv2 provided “acceptable protection” for up to

276 rounds of M16-556 ball ammunition fired under the “worst-case condition” in a

closed room. (Id. at 4 “Operational Significance”; Ex. 58 (2/26/20 Merkley Tr.) at

84:10-85:11.)

      F.     Aearo Conducted REAT Tests On The CAEv2.
      Although the CAEv2 was initially developed with and for the military, the

government did not preclude Aearo from subsequently selling the product to the

general public. Pursuant to regulations promulgated by the EPA, manufacturers of

civilian HPDs are required to perform product testing to a particular American

National Standards Institute (“ANSI”) standard, and use the results of that testing to

calculate a Noise Reduction Rating (“NRR”) for inclusion on the product label. (Ex.

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19.) The statute enabling the EPA regulations—the Noise Control Act—carves out

“any military … equipment which are designed for combat use” from the

“product[s]” subject to the EPA regulations, and thus there was no requirement that

Aearo perform EPA testing and labeling in connection with the earlier sales to the

military. See 42 U.S.C § 4902(3)(B)(i).

      In particular, the EPA regulations require “real ear attenuation at threshold”

(“REAT”) testing pursuant to ANSI S3.19 1974, under which protocol (i) human

test subjects sit in a sound proof room, (ii) an experienced experimenter inserts the

earplugs into the test subjects’ ears to achieve a “best fit,” and then (iii) the

experimenter plays tones of different frequencies to determine the quietest sounds

the subjects can hear with and without the earplugs.               (Id.; Ex. 20 at

3M_MDL000011408-11; Ex. 59 (11/13/19 Berger Tr.) at 200:23–201:8; Ex. 60

(12/19/19 Kieper Tr.) at 128:8–129:3.) The NRR is calculated by subtracting two

standard deviations from the mean attenuation for ten subjects. (Ex. 19; Ex. 60

(12/19/19 Kieper Tr.) at 128:8–129:3.)

      Aearo conducted the first REAT tests on the CAEv2 between December 1999

and January 2000. (Exs. 21-22.) Aearo employee Ronald Kieper performed the

testing while Berger supervised. (Ex. 60 (Kieper 12/19/19 Tr.) at 111:25–112:10.)

Aearo performed a separate REAT test on each end of the CAEv2: test number




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213015 involved the green (conventional) end, and test number 213016 involved the

yellow (non-linear) end. (Exs. 21-22.)

       The initial results for the ‘015 test were unusually variable, with certain users

reporting attenuation values that were lower than the standard Ultrafit earplug. (Ex.

21; Ex. 61 (3M_MDL000186637 (“Ex. 61 (10/8/15 Berger Tr.)”)) at 109:6-110:15;

Ex. 24 at 3M_MDL00005286.) The combination of increased variability and lower

mean attenuation resulted in an estimated NRR of 10.9 through eight subjects. (Ex.

21)3 Berger stopped the test after eight subjects to investigate the cause of the

variability.   (Ex. 61 (10/8/15 Berger Tr.) at 106:6-13, 109:6-110:15; Ex. 59

(11/13/19 Berger Tr.) at 214:13-215:4; Ex. 24 at 3M_MDL00005286.)4 Upon

investigation, Berger and Kieper determined that certain test subjects had

experienced a fitting issue. Essentially, when Kieper needed to insert the plug deeply

to get a “best fit” (per the test protocol) for some users, the bottom flange on the

opposite end of the earplug could contact the user’s tragus and cause the earplug to

loosen in the user’s ear. (Ex. 24 at 3M_MDL000005286.) Because this was

occurring in a silent, soundproof test room, the loosening was imperceptible to the


3
    Because NRR ratings are calculated by subtracting two standard deviations from
    the mean attenuation, variability between tests in either direction will result in a
    lower NRR.
4
    Neither the EPA regulations nor the ANSI standard prohibits stopping a test prior
    to completion.

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test subjects, and they proceeded to participate in the test without the “best fit”

required under the protocol. (Id.; Ex. 59 (11/13/19 Berger Tr.) at 241:14-243:14.)

       The solution to this issue was straightforward. For those users who needed to

insert the earplug deeply to achieve a best fit, the flanges on the opposite end could

be folded back upon themselves, so they would not interact with the users’ tragus.

(Ex. 24 at 3M_MDL000005286; Ex. 59 (11/13/19 Berger Tr.) at 237:15-239:10,

358:15-18.) Aearo ran a second test on the green end using this fitting technique for

at least one of the ten test subjects: test number 213017.                (Ex 23 at

3M_MDL000195519, 24.)5 That test showed lower variability, moderately higher

mean attenuation, and a resulting NRR of 21.7. (Id.) Aearo summarized its findings

in a memorandum titled “How Folding the Flanges Back Affects REAT Results of

the UltraFit Earplug End of the Combat Arms Plug” (the “Flange Memo”), which

explains that the product was “too short for proper insertion” on an S3.19 1974

REAT test without “changing the fitting technique” as described above. (Ex. 24 at

3M_MDL00005286; Ex. 59 (11/13/19 Berger Tr.) at 289:7-23.) When Aearo

subsequently labeled the product for civilian markets, it used the NRR from the ‘017

test, and included the following fitting tip on the packaging: “Fitting is … improved


5
    The handwritten notes accompanying the 213017 test report state that “[i]f subj’s
    data are variable, fold flanges back on additional test,” and the subsequent
    comments reference folding back the flanges for one test subject. (Ex. 23 at
    3M_MDL000195524; see also Ex. 59 (11/13/19 Berger Tr.) at 411:2-412:2)

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if the sealing rings of the outward directed plug are rolled back upon themselves.”

(Ex. 25 at 3M_MDL000425527.)

      G.     Aearo Informed The Military Of The Flange Fold Issue And The
             Results Of Its Internal Testing.
      Discovery from the government is ongoing in this case.           For example,

defendants have taken only two of the 32 depositions requested from the government

to date. Even still, the undisputed evidence is clear that Aearo informed the military

of the flange fold issue and the results of its internal testing.

             1.     Elliott Berger Informed Doug Ohlin.

      During his 2015 deposition, Elliott Berger testified:

             Q. Now, what was the justification for doing a retest? Was
             it the change in fitting procedures?

             A. As I said, we looked at the original results. We found
             that multiple subjects were highly variable. …

             We also discussed this at the time with the military
             because we were doing this to meet the customer
             requirements. The Army was unhappy with the original
             design, not for any reason having to do with the plug, but
             because it wouldn’t fit in a carrying case that they were
             using. And so they had asked us to shorten the earplug to
             fit in this carrying case and we discussed the ramifications
             with them, the need for changing the fitting instructions
             and the problems that that created.

             …

             Q. You discussed with them the fact that you were folding
             back the flange to test the plug?

             A. Yes.

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             ...

             Q. When did you talk to Mr. Ohlin about this?

             A. At the time it was occurring.

             Q. In 2000?

             A. Yes.

             (Ex. 61 (10/8/15 Berger Tr.) at 109:6-110:15.)

      In 2019, Berger further testified that:

      • He told Ohlin about “the fact that the shortened earplug was creating a
        problem in the initial test and that the work we had done to try and resolve
        that problem to get optimum performance for labeling purposes would
        require this fold-back instruction.” (Ex. 59 (11/13/19 Berger Tr.) at
        297:13-22.)

      • “This entire development project was discussed with [Ohlin], and the
        issues from shortening it to how it affected our testing were reviewed.”
        (Id. at 298:4-7.)

      • He told Ohlin “that the 017 test had been conducted by rolling back the
        flanges,” and that “rolling back the flanges would be important for some
        people and that it was something that we were doing on the most recent
        test.” (Id. at 334:7-13, 337:8-18.)

      • He discussed with Ohlin whether proceeding with the flange fold
        instruction was “acceptable to the military.” (Id. at 305:10-20.)

             2.    Ohlin Told Military Audiologists About The “Flange Fold”
                   Issue.

      Per Defense Department regulations, military audiologists (or medically

trained technicians working at their direction) are responsible for fitting individual

service members with pre-molded earplugs, like the CAEv2. (Ex. 26 at 6.6.7; Ex.

58 (2/26/20 Merkley Tr.) at 24:21-26:4.) To do so, they perform two in-person tests:

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(i) a “visual inspection” to observe the position of the flanges in the service

member’s ear, and (ii) a “tug test” to “make sure that [the service member] felt the

suction and that the earplug didn’t just come out of the ear.” (Id. at 33:5-36:15.)

Additionally, military audiologists meet annually to “get instruction from

leadership” and “get an update … on … what was new that [they] needed to pay

attention to.” (Id. at 105:10-107:5.)

      Beginning at least as early as 2001, Ohlin gave the following instruction to

military audiologists on how to fit the CAEv2: “if you needed to, you could fold

back the flanges on the earplug to get a good fit.” (Id. at 97:15-99:14.) Ohlin did

not limit this advice to any particular group of soldiers or any particular size ear

canal. (Id. at 98:13-99:2.) After receiving Ohlin’s “flange fold” instruction, the

audiologists implemented it into the fitting procedures performed with individual

service members. (Id. at 99:15-20, 107:21-113:4.) Thus, according to the Chief of

the Army Hearing Program, LTC John Merkley: “If [a service member’s] earplug

was the Combat Arms Version 2, their training would have included the option to

fold back the flanges as needed to get a good fit.” (Id. at 123:8-12.)

      LTC Fallon agreed:

             With respect to the dual-ended Combat Arms earplugs, I
             instructed technicians that, if they believed the bottom
             edge of the opposing flange was preventing them from
             inserting the earplug far enough into a soldier’s ear canal,
             they should roll back the opposing flanges and try again.
             (Ex. 66 (Fallon Decl.) ¶¶ 9-11.)

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                                                                           (Ex. 27 at 3.)

       Military audiologists also understood why they were given the flange fold

instruction. For example, military audiologist                             —who worked

directly with Ohlin at the time CAEv2 was shortened (Ex. 3 at DOD00000136)—

stated that “

                         ” and that, as a result, “

                                                        .” (Ex. 44 (3/3/20 Coleman Tr.)

at 424:17-425:6.) Like Ohlin,
                                  -           did not limit the flange fold instruction to

any particular size ear canal. (Id. 426:18-427:4.)

                3.   Berger Sent Aearo’s Internal Test Reports And Civilian
                     Instructions To The Government.
       Berger also corresponded with other military audiologists regarding Aearo’s

internal testing. In August 2001, an Army audiologist named Mark Little (who at

the time was doing a fellowship at NIOSH) contacted Berger and requested

information on the CAEv2. (Ex. 28; Ex. 56 (12/12/19 Berger Tr.) at 84:25-88:13.)

On September 18, 2001, Berger sent Little a letter enclosing three attachments: (i) a

package for the consumer version of the product, which contained the “flange fold”

fitting instruction; (ii) ISL test data; and (iii) Aearo’s internal test reports for the ‘016

and ‘017 REAT tests, which describe, among other things, the flange fold fitting

technique used on the ‘017 test. (Exs. 29-33; Ex. 56 (12/12/19 Berger Tr.) at 88:16-

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103:3.) On September 25, 2001, Little sent Berger an email stating that he “received

[the] mailing and will make use of the instructions.” (Ex. 34; Ex. 56 (12/12/19

Berger Tr.) at 103:4-104:10.) Little specifically asked Berger if “the sealing rings

of the outward facing plug that were rolled back upon themselves during fitting, as

per the instructions, stay this way in the ear or should they be unrolled??” (Id.)

Berger responded: “they should stay that way.” (Id.)

             4.    Aearo Provided Attenuation Specifications To The Military.
        In 2003, the Defense Logistics Agency (“DLA”), which oversees military

procurement for the DoD, decided to develop a Medical Procurement Item

Description (MPID) for the CAEv2 and other “equal” dual-ended earplugs. DLA

worked with Aearo to develop the MPID, and asked Aearo to provide input on the

“salient characteristics” of an “equal” product, including minimum mean

attenuation. (Ex. 35 at P1355.1, 3.) The attenuation specifications Aearo provided

were below the results of the ‘015, ‘016, and ‘017 tests. (See Ex. 36 at P0498.1; Exs.

21-23.) In other words, when the military asked Aearo how the product performed,

Aearo provided attenuation specifications consistent with (and, indeed, below) all of

its internal testing, including the ‘015 test, on which the flanges were not folded

back.




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            5.     Ohlin Included The “Flange Fold” Instruction On The
                   Military’s Instructional Materials.

      The military began purchasing larger quantities of CAEv2 earplugs. Per the

military’s orders, Aearo shipped the product in bulk, without instructions. (Ex. 62

(12/3/19 Santoro Tr.) at 326:19-21; Ex. 63 (10/18/19 Myers Tr.) at 248:17-25; Ex.

58 (2/26/20 Merkley Tr.) at 129:4-10; Ex. 66 (Fallon Decl.) ¶ 16.) Ohlin told Aearo

that, rather than having soldiers rely on written instructions, military personnel

would personally instruct soldiers on how to fit the earplugs. (Ex. 62 (12/3/19

Santoro Tr.) at 326:22-327:10; see also Ex. 26 at 6.6.7) For example, former Aearo

employee Marc Santoro testified:

            Q. Did [Ohlin] tell you not to include instructions in that
            box?

            A. He did.

            Q. Did he indicate why he didn’t want instructions in that
            box?

            A. He felt that personal training was the most effective
            way to train the soldiers, and that the military audiologists
            were going to take on that responsibility of individually
            training every solider.

            Q. Did you follow Mr. Ohlin’s requests?

            A. Yes.

            Q. And why is that?

            A. Doug was the one that pretty much dictated how we
            were to provide hearing protection to the military.

            (Id. at 326:11-327:10 (emphasis added).)

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Ohlin further told Aearo that the cost of packaging the earplugs with individual user

instructions would outweigh the benefits. (Ex. 38.)

       Instead, in 2004, the military created its own written training materials for the

CAEv2. First, the U.S. Army Center for Health Promotion and Preventive Medicine

(“CHPPM”) created a “wallet card” that could be distributed to service members at

the time they were fitted with the earplugs. (Exs. 39-41; Ex. 58 (2/26/20 Merkley

Tr.) at 126:7-13.) The wallet card includes a picture of the CAEv2 with the flanges

folded back and a bullet that reads: “[f]or very large ear canals, fold opposing plug

back.” (Ex. 41.)6 Second, CHPPM created a two-page overview called “Just the

Facts” that was provided to military audiologists. (Ex. 42; Ex. 58 (2/26/20 Merkley

Tr.) at 126:19-128:10.)

             6.     Ohlin Reviewed Aearo’s Civilian “Flange Fold” Instruction.

       In 2005, Aearo began marketing individually packaged pairs of the CAEv2 as

the “Combat Arms Earplugs.” (Ex. 64 (10/17/19 Moses Tr.) at 128:4-129:2; Ex. 62

(12/3/19 Santoro Tr.) at 183:4-184:8.) Before Aearo finalized the packaging, Brian




6
    Discovery is ongoing regarding why CHPPM included the limitation “for very
    large ear canals” on the wallet card, and whether that was based on the military’s
    own analysis of those soldiers most likely to deeply insert the earplug. In any
    event, it is clear that Aearo did not so limit its guidance to Ohlin, and also that
    Ohlin’s instructions to military audiologists were not limited to any particular
    size ear canal. (Ex. 59 (11/13/19 Berger Tr.) at 350:7-351:12; Ex. 65 (12/10/19
    Berger Tr.) at 211:4-213:1; Ex. 58 (2/26/20 Merkley Tr.) at 98:13-99:14.)

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Myers sent Ohlin the proposed instructions, which included the “flange fold” fitting

tip that was included on civilian packaging (and previously sent to Mark Little in

2001). (Ex. 43 at 1, 3.) Ohlin reviewed the instructions and made certain suggested

edits, including that individuals with small ear canals might experience discomfort

using the CAEv2 and should consider a single-sided product as an alternative. (Id.

at 1) Aearo adopted Ohlin’s edits. (Id.)

      H.     The Military Tested The CAEv2 And Understood How It
             Performed.
      In addition to the testing it performed during product development, the

government extensively tested the CAEv2 between 2001 and 2015. (Exs. 7, 45-52.)

Among other things, the military performed: (i) laboratory REAT tests on humans,

like the testing performed internally at Aearo (Exs. 7, 48-49, 51-52); (ii) real-world

field testing on humans, in which soldiers’ hearing was measured before and after

firing weapons while wearing the CAEv2 (Ex. 46); (iii) impulse noise tests, in which

the CAEv2 was inserted into a specialized mannequin and exposed to high level

explosions (Ex. 45, 47-50); and (iv) speech intelligibility and localization precision

testing, in which service members wore the yellow end of the earplug while listening

to speech or determining the direction of incoming sounds (Ex. 49). One military

REAT test determined that the CAEv2 “compared very well with [its] design

specifications.” (Ex. 48 at 19.) Another, done without rolling back the flanges,

concluded that the green end of the CAEv2 provides “very good attenuation” and

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"should provide for a safe exposure level for the average user in many noise

environments up to 105 dB." (Ex. 7 at 19-20; Ex. 58 (2/26/20 Merkley Tr.) at

448:17-451: 16.) These tests "show that the plug provides reasonable attenuation or

good attenuation under a variety of different circumstances." (Ex. 58 (2/26/20

Merkley Tr.) at 452: 12-1 8) More importantly, these tests put the military on notice

of exactly how the product performed, including during REAT testing on humans.

        I.   The CAEv2 Meets The Military Sound Attenuation Specification,
             With Or Without The Flanges Folded Back.

        DLA updated the MPID in 2006. (Ex. 53 at P0692.2.) The updated MPID

included the same attenuation specification as the original MPID. (Ex. 55 at

3M_MDL000000055.) The CAEv2 meets the attenuation specification at every

frequency with or without the flanges folded back- that is, whether measured using

the ' 01 5 test that was stopped after eight subjects after the product "loosened"

without folding back the flanges, or the completed ' 01 7 test, on which the flanges

were folded back for at least one subject.

 Frequency                                       MPID                    213016
                                                 Yellow-End              Test
                                                 S ec                    Result
 125          >25dB         30.5    32.7         0-l0dB                  4.7
 250          >25dB         29.3    31.8         0-l0dB                  4.2
 500          >25dB         30.3    33.0         0-l0dB                  6.0
 1000         >25dB         27.5    32.0         5-1 5dB                 9.5
 2000         >30dB         30.6    34.5         10-20dB                 16.7
 4000         >35dB         36.7    38.9         10-20dB                 16.3
 8000         >40dB         41.2    43.3         10-25dB                 17.2
                  (Ex. 55 at 3M_MDL000000055; Exs. 21-23 .)

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      J.     The CAEv2 Helped The Military Advance Its Hearing
             Conservation Mission.

      According to LTC Merkley, the CAEv2 worked well, with or without the

flanges folded back. Ex. 58 (2/26/20 Merkley Tr.) at 197:1-11, 452:20-453:1.) He

treated service members in Iraq and “those that didn’t use a plug had hearing loss,

and those that did use a hearing protector, like the CAEv2, did not.” (Id. at 453:9-

14, 195:6-19.) Similar “success stories” written by other military audiologists make

clear that CAEv2 worked well in their experience, too. (Id. at 179:9-188:20, 453:4-

8.)

                                   ARGUMENT

      The federal government contractor defense ensures that, when the government

makes an informed decision to use a certain product design, courts do not “second-

guess” that decision by entertaining state-law tort suits. See Boyle, 487 U.S. at 511.

The defense plays a particularly important role in protecting military procurement

decisions, which “often involve[] not merely engineering analysis but judgment as

to the balancing of many technical, military, and even social considerations,

including specifically the trade-off between greater safety and greater combat

effectiveness.” Id. Juries should not, and as a matter of federal law cannot, reweigh

the many factors the military considered and declare that, in hindsight, the military

made a mistake and approved a product that was defective.



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I.      The Government Contractor Defense Preempts Plaintiffs’ Design Defect
        Claims.

        In the context of a design defect claim, the government contractor defense has

the following three elements: (1) “the United States approved reasonably precise

specifications,” (2) “the equipment conformed to those specifications,” and (3) “the

supplier warned the United States about the dangers in the use of the equipment that

were known to the supplier but not to the United States.” Id. at 512. Importantly,

this analysis “depends only” on whether “the elements are met with respect to the

particular product feature upon which the claim is based.” In re Katrina Canal

Breaches Litig., 620 F.3d 455, 460 (5th Cir. 2010) (emphasis added). There can be

no dispute that all three elements are met with respect to the allegedly defective

design feature in this case—the length of the CAEv2. Although couched in various

terminology, the design defect allegations in the complaint all relate to interaction

of the opposite-end flanges due to the length of the CAEv2. (See e.g., Dkt. 704

(Master Long Form Compl.) ¶¶ 107, 265.)

        A.    The Government Approved Reasonably Precise Specifications.

        The first element of the defense is met when the allegedly defective design

results from a “continuous back and forth” between the government and the

contractor. Brinson v. Raytheon Co., 571 F.3d 1348, 1355 (11th Cir. 2009). Put

more precisely, a contractor meets the first element if it “incorporated” the

government’s specifications “into a design that the government subsequently

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reviewed and approved.” Harduvel v. Gen. Dynamics Corp., 878 F.2d 1311, 1320

(11th Cir. 1989). The CAEv2 easily satisfies that standard.

      In December 1997, the military requested that Aearo develop a new non-linear

earplug that: (1) incorporated the ISL filter, (2) used Aearo’s “UltraFit” tips, which

the government had previously tested with the ISL filter, (3) was dual-ended, so that

service members did not need to carry two separate sets of earplugs, and (4) was

single sized, because a one-size-fits-most product was easier for field audiologists

to dispense. (Ex. 2 at 2; Ex. 56 (12/12/19 Berger Tr.) at 60:2-61:19, 64:7-11, 81:22-

82:24.) After Aearo sent initial production samples, Ohlin directed that Aearo

shorten the earplug to its allegedly defective length so that it fit into the military’s

carrying case and fit under the helmet chin strap. (Exs. 3-5.) Aearo shortened the

earplug in response to that directive, and Ohlin determined the modified design was

“acceptable.” (Ex. 3 at DOD00000137.) The military thereafter tested the earplug

under “worst case condition[s],” and decided to move forward with using it. (Ex.

16; Ex. 58 (2/26/20 Merkley Tr.) at 83:20-84:9.) There is thus no doubt that, as

Ohlin confirmed, “the combat arms earplug has been ‘evaluated and specified by

the U.S. Armed Forces.’” (Ex. 54 (emphasis added).)

      The Eleventh Circuit has held that far less government involvement satisfies

the first Boyle element. For example, in Harduvel v. Gen. Dynamics, the plaintiffs

alleged that a fighter aircraft’s electrical system had failed because wires were


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packed too closely together and wore one another down. 878 F.2d at 1319. The

court held that the defendant had satisfied the first Boyle element because the

military had conducted “independent review and analysis” of the plane’s electrical

system, even though it had no role in designing the system in the first place. Id. at

1320.

        Similarly, in Brinson v. Raytheon, the contractor had designed and patented

the product—an automatic “rudder trim system” for a single-propeller aircraft—

without any involvement from the government. 571 F.3d at 1350. But as the

Eleventh Circuit emphasized, what matters is whether “the design feature in question

was considered by a Government official.” Id. at 1355 (quoting Boyle, 487 U.S. at

512). That consideration can take place after the contractor has designed,

manufactured, and even begun to sell a product. Id.

        Here, far beyond the level of involvement in Harduvel and Brinson, the

military was the driving force behind the CAEv2’s creation. It researched and tested

the ISL filter, directed that Aearo develop a dual-ended product incorporating that

filter, instructed that the product be shortened after Aearo provided initial samples,

and approved and tested its final length. That level of involvement is more than

sufficient to satisfy Boyle, and thus summary judgment is warranted on the first

element.




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      B.    The CAEv2 Conformed to the Government’s Specifications.

      “To demonstrate the second Boyle condition, a contractor must show that the

equipment at issue conformed to precise, government-approved specifications.”

Brinson, 571 F.3d, at 1357.      “[W]here the procurement process involves [a]

continuous exchange between the contractor and the government, the process itself

becomes persuasive evidence of the product[’s] conformity to precise

specifications.” Id. The CAEv2 meets the second element, too.

      It cannot be disputed that the CAEv2 conforms to the specifications provided

by Ohlin to Aearo, including Ohlin’s directive that Aearo shorten the CAEv2 to its

allegedly defective length. In Aearo’s original design, the overall length of the

earplug was 40.34 millimeters, and the tips on each end were 7.72 millimeters apart.

(Ex. 11.) Aearo subsequently shortened the length of the earplug approximately 1/4”

in response to Ohlin’s request. (Ex. 14; Ex. 17 at 0; Ex. 3 at DOD00000136; Ex. 4

at 3M_MDL000569995; Ex. 5 at 3M_MDL000569956; Ex. 56 (12/12/19 Berger

Tr.) at 66:12-68:1.) After review, Ohlin determined the modified design was

“acceptable,” and the military moved forward with testing and using the earplug.

(Ex. 3 at DOD00000137; Ex. 16) Plaintiffs do not allege CAEv2 was subsequently

manufactured to a different length than that which Ohlin approved, and thus

defendants are entitled to summary judgment on the second Boyle element.




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      C.     The Government Was On Notice Of The Consequences Of
             Shortening The Product’s Length.

      The third element of the contractor defense requires that “the supplier warned

the United States about the dangers in the use of the equipment that were known to

the supplier but not to the United States.” Id.

             1.    Because The Product Provided Sufficient Attenuation
                   Without the Flanges Rolled Back, There Was No “Danger”
                   To Warn Of.
      Plaintiffs allege that Aearo concealed the results of its ‘015 test and the

“danger” that the product was “too short for proper insertion” absent folding back

the flanges. As detailed in the charts above, however, the ‘015 test shows that the

CAEv2 provided mean attenuation above the minimum levels the military required,

even without the flanges folded back. (Ex. 55 at 3M_MDL00000055; Exs. 21-23)

Because the CAEv2 met the military’s attenuation specification—with or without

the flanges folded back—there was no “danger” that required a Boyle warning. To

conclude otherwise would imply that the mean attenuation levels specified by the

military were, in fact, dangerously low, or that the military should have used a

different metric for its specification—precisely the sort of “second-guess[ing]”

Boyle forbids. 487 U.S. at 511; see also Lewis v. Babcock Indus., Inc., 985 F.2d 83,

89 (2d Cir. 1993) (“Whether or not these decisions were ill-advised … it is not our

role to second-guess the Air Force’s judgment.”).



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                2.   Aearo Warned the Military of Any Known "Dangers."

      In any event, the undisputed evidence is clear that Aearo did tell the

government about the results of its internal testing, including the fitting issues that

occurred as a result of the military's decision to shorten the product's length. Among

other things:

      • Elliott Berger told Ohlin "that the shortened earplug was creating a
        problem in the initial test" and "that the O17 test had been conducted by
        rolling back the flanges." (E.g. , Ex. 59 (11 /13/19 Berger Tr.) at 297:13-22,
        334:7-13, 337:8-18.)




          44 (3/3/20 Coleman Tr.) at 424: 17-425:6.)

      • Ohlin instructed military audiologists to fold back the flanges on the
        opposite end of the earplug as needed to get a good fit. (Ex. 58 (2/26/20
        Merkley Tr.) at 97: 15-99:20; 107:21-113:4; Ex. 66 (Fallon Deel.) ,r 11; Ex.
        27 at 3.)

      • Berger sent a government audiologist: (i) Aearo's ' 016 and ' 017 test
        reports, which make clear that Aearo folded back the flanges for at least
        one test subject on the '017 test; and (ii) a version of the civilian
        instructions that included the flange fold fitting tip. (Exs. 29-33; Ex. 56
        (Berger 12/12/19 Tr) at 88:16-103:3.)

      • Ohlin included a picture of the CAEv2 with the flanges folded back on the
        wallet card, along with a version of the flange fold instruction. (Ex. 41 .)

      • Ohlin reviewed and commented on Aearo's civilian instructions that
        included the flange fold instruction. (Ex. 43 .)

      • Aearo provided DLA with attenuation specifications consistent with (and,
        indeed, below) all of its internal testing, including the ' 015 test. (Ex. 35
        at 1, 3; Ex. 36 at 1; Exs. 21-23.)


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On this record, it cannot reasonably be disputed that Aearo put the military on notice

that, due to the military’s decision to shorten the earplug, some users may need to

roll back the opposing flanges in order to get a best fit.

             3.     The Military Was On Notice Of Any “Dangers” From Its
                    Own Testing And Use.
      Even if Aearo had not disclosed the findings from its internal testing, the third

Boyle element would still be met because a contractor has no duty to warn of

“dangers” otherwise “known ... to the United States.” Boyle, 487 U.S. at 512. Courts

around the country have recognized that, in light of the extensive testing the military

performs on combat equipment, its knowledge of a product’s characteristics is often

equal to (or greater than) that of the manufacturer. In re “Agent Orange” Prod.

Liab. Litig., 304 F. Supp. 2d 404, 435 (E.D.N.Y. 2004) (collecting cases). These

cases are on point here.

      For example, Zinck v. ITT Corp. involved night vision goggles that the

military had subjected to repeated “field tests.” 690 F. Supp. 1331, 1332–33, 1337–

38 (S.D.N.Y. 1988). The court reasoned that this testing “alerted [the military] to

the goggles’ limitations.” Id. The court also noted that the military had been “using

this equipment in flight missions for four years prior to the crash,” and accordingly

“would have become aware of any limitations or dangers.” Id. Thus, the court held,

although the record on summary judgment “may point to knowledge on the part of



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[the defendant] of these dangers,” it also “clearly establishes superior knowledge on

the part of the Government, which nevertheless continued to use the equipment.” Id.

      Similarly, Haltiwanger v. Unisys Corp. involved a letter sorting machine the

government subjected to “extensive testing” and thereafter used for years. 949 F.

Supp. 898, 900-01, 905 (D.D.C. 1996). The court reasoned that the government’s

testing made it “independently aware” of any product limitations. Id. at 904-05.

Moreover, the court held, “[r]egardless of articles and studies regarding the

machinery, actual, real-world use of the equipment is the best means by which to

truly understand its nature as well as its shortcomings,” and thus “[a]cceptance and

continued use of a product, especially where the government agency participated in

the design process, reflects a cognizance of any risks involved.” Id.

      The same is true here. The military tested the product under “worst case

condition[s]” shortly after Aearo provided “acceptable production samples.” (Ex.

16 at 4; Ex. 3 at DOD00000137.) Numerous branches of the military thereafter used

the product for over a decade, during which time it was continuously tested under a

variety of different conditions. (Exs. 7, 45-52.) Like Zinck, this testing included a

“[f]ield [s]tudy,” in which soldiers fired weapons in full combat uniform after

running an obstacle course. (Ex. 46 at 6.) It also included laboratory REAT tests on

humans (Exs. 48-49, 51-52), including REAT testing done without folding back the

flanges like the allegedly concealed ‘015 test done at Aearo. (Ex. 7 at 19-20; Ex. 58


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(2/26/20 Merkley Tr.) at 448:17-451:16.) The military’s extensive use and testing

of CAEv2 put it on notice of the product’s capabilities and limitations, in the real

world as well as under laboratory conditions.

               4.    Plaintiffs’ Alternative Arguments Are Without Merit
         Given the body of evidence showing that the military was on notice of the

flange fold issue, plaintiffs have pivoted to two alternative arguments. Neither has

merit.

         First, plaintiffs argue that Aearo should have advised the military that all

users needed to roll back the flanges to obtain an adequate fit. This assertion has no

basis in the record. The handwritten notes accompanying the ‘017 test report

indicate that the flanges were folded back only “[i]f [the] subj’s data [were]

variable,” and that only one test subject required that technique to get a best fit. (Ex.

23 at 3M_MDL000195524.) In any event, even assuming that the flanges were

folded back for everyone on the ‘017 test, the undisputed evidence demonstrates that

such action is not necessary for all users. For example:

         • Test subjects on the ‘015 test achieved attenuation values above the MPID
           specification without rolling back the flanges. (Exs. 21, 55 at
           3M_MDL00000055.)

         • REAT testing performed by the military found that, even without folding
           back the flanges, the CAEv2 provides “very good attenuation” that “should
           provide for a safe exposure level for the average user in many noise
           environments.” (Ex. 7 at 19-20; Ex. 58 (2/26/20 Merkley Tr.) at 168:6-11;
           448:17-451:16 (“Q. So, Mr. Hobbs is testing the earplug in human ears


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         without rolling the flanges back, and they are working? A. Yes, it appears
         so.”)

      • LTC Merkley testified that the CAEv2 worked well without folding back
        the flanges. (Ex. 58 (2/26/20 Merkley Tr.) at 197:1-199:10; 452:20-
        453:1.)

Plaintiffs cannot survive summary judgment by arguing that Aearo should have

given the erroneous warning that all users must fold back the flanges.

      Second, plaintiffs have pointed to the absence of evidence that the Flange

Memo itself was shared with the government. But that is irrelevant, because it is

undisputed that the information in the Flange Memo was communicated to the

government, and that the government understood and acted on that information. See

supra at Section G. Indeed, in light of the information Ohlin provided to military

audiologists, LTC Merkley testified about the Flange Memo as follows:

            Q. But if … the central issue in the [Flange Memo] was
            that for some people folding back the flanges could benefit
            them to get a good fit, that was information you already
            had, right?

            A. Yes. … I was made aware of it in 2001 or thereabouts.

            (Ex. 58 (2/26/20 Merkley Tr.) at 459:16-460:5.)

There is no requirement under Boyle that a warning take any particular form, and

thus plaintiffs cannot survive summary judgment by quibbling about the precise

manner the government learned of the flange fold issue here.




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II.      The Government Contractor Defense Preempts Plaintiffs’ Failure to
         Warn Claims.

         In addition to their design-defect claims, Plaintiffs allege that Defendants

negligently failed to instruct soldiers to roll back the flanges before insertion. It is

well established that the government contractor defense also applies to failure-to-

warn claims. See Dorse v. Eagle–Picher Indus., Inc., 898 F.2d 1487, 1489 (11th

Cir. 1990); Ripley v. Foster Wheeler LLC, 841 F.3d 207, 211 (4th Cir. 2016).

Adapted for the failure-to-warn context, the three elements of the defense are:

         (1) the United States exercised its discretion and approved the
         warnings, if any; (2) the contractor provided warnings that conformed
         to the approved warnings; and (3) the contractor warned the United
         States of the dangers in the equipment’s use about which the contractor
         knew, but the United States did not.

Tate v. Boeing Helicopters, 55 F.3d 1150, 1157 (6th Cir. 1995). Because the third

element of the defense is the same for the design defect claims, only the first two

elements require independent discussion.

         The undisputed evidence shows that the military ordered Aearo to ship the

product in bulk, without instructions, because the military did in-person training

with every service member. (Ex. 62 (12/3/19 Santoro Tr.) at 326:19-21; Ex. 63

(10/18/19 Myers Tr.) at 248:17-25) Indeed, in-person fit and training was required

by DoD policy. (See Ex. 26 at 6.6.7, 6.6.9; Ex. 58 (2/26/20 Merkley Tr.) at 24:21-

26:19.) And because Berger had discussed the flange-fold instruction with Ohlin,

and Ohlin in turn relayed that instruction to military audiologists, the training that

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was given “included the option to fold back the flanges as needed to get a good fit.”

(Ex. 58 (2/26/20 Merkley Tr.) at 123:8-12.) Plaintiffs cannot now “second guess”

those decisions under Boyle. See Tate, 55 F.3d at 1157.

                                  CONCLUSION

      The evidence developed to date is clear and unambiguous: the military not

only asked Aearo to develop earplugs using the ISL filter, but also specified and

approved detailed product requirements, including the allegedly defective length.

The military accepted and used the earplugs fully aware of the “fit” issues related to

the shorter length. Under Boyle, Defendants cannot, as a matter of law, be liable to

service members who used earplugs designed, manufactured and delivered as the

military directed. Defendants respectfully request that the Court enter summary

judgment on all claims brought by plaintiffs who used CAEv2 purchased by the

military.




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DATED: April 1, 2020             KIRKLAND & ELLIS LLP

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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      Pursuant to Local Rule 7.1(B), counsel for Defendants certify that they

contacted counsel for Plaintiffs regarding the relief requested in the foregoing

motion. Plaintiffs do not consent to the relief requested.



 CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 7.1(F) & 56.1

      I HEREBY CERTIFY that this brief complies with the word limit of Local

Rules 7.1(F) and 56.1, and contains 7,999 words, excluding the parts exempted by

those Rules.



DATED: April 1, 2020                        /s/ Kimberly Branscome
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                         CERTIFICATE OF SERVICE

      I, Kimberly Branscome, hereby certify that on April 1, 2020, I caused a copy

of the foregoing to be filed through the Court’s CM/ECF system, which will serve

all counsel of record.


DATED: April 1, 2020                        /s/ Kimberly Branscome
                                            Kimberly Branscome
